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                           UNITED STATES DISTRICT COURT FOR THE
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                              CENTRAL DISTRICT OF CALIFORNIA
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              ROY MANOJKUMAR SAMATHANAM,~ Case N8/ ~ 1 ~ ~ D 2 ~J Z ~'j; `.
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                                    PLAINTIFF,        EX PARTE APPLICATION TO FIl
         20                                           A SEALED COMPLAINT,CIVIL
                  V.                                  COVER SHEET,ANll SUMMONS
         21                                           PURSUANT TO CIVIL L.R. 79-5
           NANDASENA GOTABAYA                         AND FOR DOCUMENTS NOT TO
        22 RAJAPAKSA, A.K.A. GOTABAYA                 APPEAR IN THE PUBLIC DOCKF
           RAJAPAKSA,
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        24                      DEFENDANT.
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                                APPLICATION FOR LEAVE TO FILE UNDER SEAL
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21                                                     PURSUANT TO CIVIL L.R. 79-5
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     RAJAPAKSA,
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24                      DEFENDANT.
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                        APPLICATION FOR LEAVE TO FILE CINDER SEAL
Case 2:19-cv-02626-JFW-PLA Document 1 Filed 04/05/19 Page 3 of 4 Page ID #:3




 1         Plaintiff, by counsel, hereby requests this Court for an order permitting the filing
 2
     ofa sealed complaint, civil cover sheet and summons,pursuantto Civil L. R. 79-5, and
 3

 4 ordering the documents not to appear in the public docket, only until such time as

 5 Defendant may be served with the summons and complaint. The reasons for said filing

 6
     appear in the affirmation of Bonny E. Sweeney, attached hereto.
 7

 8         For these reasons and such other reasons as may appearjust to the court, Plaintiff

 9 requests that his motion for leave to file a sealed complaint and accompanying papers

10
     be granted.
11
12

13 DATED: April 5, 2019

14                                                         /s/Bonny E. Sweeney
15
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Case 2:19-cv-02626-JFW-PLA Document 1 Filed 04/05/19 Page 4 of 4 Page ID #:4




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